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CLAUDIO CASTILLO, IN THE CIRCUIT COURT OF THE llth
IUDICIAL CIRCUIT IN AND FOR
Plaintiff, MIAMI-DADE COUNTYj FLORIDA
v. CASE NO; 18-008226-CA-Ol (08)

CITY OF MIAMI BEACHj a municipal
corporation, and ADAWIS ORTIZj
individually,

Defendants.
/

 

ALIAS SUMMONS FOR PERSONAL SERVICE ON NATURAL PERSON

 

TO/PARA/A: ADAYMIS ORTIZ
n/i</a ADAYMIS RoDRrGUEZ (Badge #1024),
as Police Officer of the City of Miami Beach

Miami Beach Police
1100 Washington Avenue
Miami Beachj FL 33 l39

IMPORTANT

A lawsuit has been filed against you. You have 20 calendar days after this summons is served on
you to file a Written response to the attached complaint With the clerk of this court. A phone call
Will not protect you. Your Written response, including the case number given above and the
names of the parties, must be filed if you Want the court to hear your side of the case. If you do
not file your response on time, you may lose the case, and your Wages, money, and property may
thereafter be taken Without further Warning from the court. There are other legal requirements
You may Want to call an attorney right away. If you do not know an attorney, you may call an
attorney referral service or a legal aid office (listed in the phone book).

If you choose to file a Written response yourself, at the same time you file your Written response
to the court you must also mail or take a copy of your Written response to the Plaintiff/Plaintiff s
Attomey named beloW.

IMPORTANTE

Usted ha sido demandado legalmente. Tiene 20 dias, contados a partir del recibo de esta
notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal Una
llamada telefonica no lo protegera. Si usted desea que el tribunal considere su defensa, debe
presentar su respuesta por escrito, incluyendo el numero del caso y los

nombres de las partes interesadas. Si usted no contesta la demanda a tiempo, pudiese perder el
caso y podria ser despoj ado de sus ingresos y propiedades, o privado de sus derechos, sin previo

Case 1:18-cv-23256-.]E|\/| Document 1-2 Entered on FLSD Docket 08/10/2018 Page 2 of 18

aviso del tribunal. EXisten otros requisitos legales. Si lo desea, puede usted consultar a un
abogado inmediatamente. Si no conoce a un abogado, puede llamar a una de las oficinas de
asistencia legal que aparecen en la guia telefonica.

Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su respuesta
ante el tribunal, debera usted enviar por correo o entregar una copia de su respuesta a la persona
denominada abajo como Plaintiff/Plaintiff s Attorney (Demandante o Abogado del Demandante).

IMPORTANT

Des poursuites judiciares ont ete entreprises contre vous. Vous avez 20 jours consecutifs a partir
de la date de l'assignation de cette citation pour deposer une reponse ecrite a la plainte ci-jointe
aupres de ce tribunal. Un simple coup de telephone est insuffisant pour vous proteger. Vous etes
obliges de deposer votre reponse ecrite, avec mention du numero de dossier ci-dessus et du nom
des parties nommees ici, si vous souhaitez que le tribunal entende votre cause. Si vous ne
deposez pas votre reponse ecrite dans le relai requis, vous risquez de perdre la cause ainsi que
votre salaire, votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis
ulterieur du tribunal. ll y a d'autres obligations juridiques et vous pouvez requerir les services
immediats d'un avocat. Si vous ne connaissez pas d'avocat, vous pourriez telephoner a un service
de reference d'avocats ou a un bureau d'assistance juridique (figurant a l'annuaire de telephones).

Si vous choisissez de deposer vous-meme une reponse ecrite, il vous faudra egalement, en meme
temps que cette formalite, faire parvenir ou eXpedier une copie de votre reponse ecrite au
Plaintiff/ Plaintiff s Attorney (Plaignant ou a son avocat) nomme ci-dessous.

Christopher M. Brown, Esq.

Law Offices of Brown & Associates, P.A.
Attorneys for Plaintiff

12 Southeast 7th Street, Suite 700

Ft. Lauderdale, FL 33301

Telephone: (954) 764-6828 | Fax: (954) 764-0287

THE STATE OF FLORIDA;
To Each Sheriff of the State:

YOU ARE COl\/IMANDED to serve this summons and a copy of the complaint in this
lawsuit on the above-named defendant

DATED en 6/26/2018 , 2018

CLERK OF THE CIRCUIT COURT (SEAL)
Harvey Rubin, As Clerk of the Court

By §§ §§ cg 164§5§

As Deputy Clerk

 

 

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_\_/_§RlFl§I_J RETURN OF SERV|CE

State of Florida County of Miami-Dade Circuit Court

Case Number: 18-008226-CA-01
Plaintiff: |il ||| li| ||| ||||||lli|| l""| ll
JV32018005

CLAUDIO CASTlLLO, 302

VS.

 

 

 

 

 

 

Defendant:
C|TY OF MlAMl BEACH A MUN|C|PAL CORPORAT|ON AND ADAYMlS ORTIZ
lNDlVlDUALLY,

For:
Christopher M Brown
Law Otfices of Brown & Associates, PA

Received by COMPASS lNVESTlGATlONS on the 2nd day of July, 2018 at 12:12 pm to be served on ADAYM|S ORTlZ N/K/A ADAYM|S
RODRlGUEZ (BADGE# 1024) AS POLlCE OFFlCER OF THE C|TY OF MlAMl BEACH, 1100 WASHlNGTON AVENUE, MlAMl BEACH,
FL 33139.

l, Cesar Carias, do hereby affirm that on the 21 st day of Ju|y, 2018 at 10:20 pm, l:

lNDlVlDUALLY/PERSONALLY served by delivering a true copy of the ALIAS SUMMONS PERSONAL SERV|CE ON A NATURAL
PERSON and COMPLAINT AND DEMAND FOR JUFtY TR|AL with the date and hour of service endorsed thereon by me, to ADAYM|S
GRTlZ N/K/A ADAYMIS RODR|GUEZ (BADGE# 1024) at the address of: 1100 WASHlNGTON AVENUE, NllAMl BEACH, FL 33139, and
informed said person of the contents therein, in compliance with state statutes

Description of Person Served: Age: 35, Sex: F, Race/Skin Color: l-lispanic, Height: 5'7", Weight: 115, Hair: Black, Glasses: N
l certify that l am over the age of 18, have no interest in the above action, and am a Certified Process Server, in good standing, in the

judicial circuit in which the process was served Under penalties of perjury, l declare that l have read the foregoing document and that the
facts stated in it are true.No Notary Required pursuant to F.S. 92.525(2).

 

 

Cesar Carias
CPS #1582

COMPASS lNVESTlGATlONS
10 South New River Drive, East
Suite 205

Fort Lauderdale, FL 33301
(954) 527-5722

Our Job Serial Number: JVS-2018005302
Ref: Christopher Brown

Copyright © 1992‘2018 Database Services. lnc. ' Process Server`s Tooibox V7.1i

“Case 1:18-cv-23256-.]El\/| Document 1-2 Entered on FLSD Docl<et 08/10/2018 Pag§g@§_

Filing # 73753426 E-Filed 06/19/2018 10:24: 19 AM

CLAUDIO CASTlLLO, IN THE CIRCUIT COURT OF THE llth
JUDlCIAL ClRCUIT IN AND FOR
Plaintift`, MlAl\/ll-DADE COUNTY, FLORIDA
v. CASE NO: 18-008226~CA-01 (08)
ClTY OF MIAMI BEACH, a municipal § 7/ /Z

corporation, and ADAYMIS ORTIZ,
individually,

 

/£ afa,rla/

/52’

Defendants.

 

 

ALIAS SUMMONS FOR PERSONAL SERVICE ON NATURAL PERSON

TO/PARA/A: ADAYMIS ORTlZ
n/k/a ADAYMlS RODRIGUEZ (Badge #1024),
as Police Officer of the City of Miarni Beach

Miami Beach Police
l 100 Washington Avenue
Miami Beach, FL 33139

IMPORTANT

A lawsuit has been filed against you. You have 20 calendar days after this summons is served on
you to file a written response to the attached complaint with the clerk of this court. A phone call
will not protect you. Your written response, including the case number given above and the
names of the parties, must be filed if you want the court to hear your side of the case If you do
not tile your response on time, you may lose the case, and your wages money, and property may
thereafter be taken without further warning from the court There are other legal requirements
You may want to call an attorney right away. lt` you do not know an attorney, you may call an
attorney referral service or a legal aid office (listed in the phone book).

lt`you choose to file a written response yourselt`, at the same time you file your written response
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Attomey named below

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denominada abajo come Plaintiff/Plaintiffs Attorney (Demandante o Abogado del Demandante).

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de la date de l'assignation de cette citation pour deposer une reponse ecrite a la plainte ci-jointe
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deposez pas votre reponse ecn`te dans le relai requis_ vous risquez de perdre la cause ainsi que
votre salaire, votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis
ulterieur du tribunal ll y a d'autres obligations juridiques et vous pouvez requerir les services
immediats d'un avocat. Si vous ne connaissez pas d'avocat, vous pourTiez telephoner a un service
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temps que cette formalite` faire parvenir ou expedier une copie de votre reponse ecrite au
Plaintiff/ Plaintiffs Attorney (Plaignant ou a son avocat) nomme ci-dessous.

Christopher M. Brown, Esq.

Law ()ffices of Brown & Associates, P.A.
Attorneys for Plaintiff

12 Southeast 7th Street, Suite 700

Ft. Lauderdale, FL 33301

Telephone: (954) 764-6828 | Fax; (954) 764~0287

THE STATE OF FLORIDA;
'l`o Each Sheriff of the State:

YOU ARE COMMANDEI) to serve this summons and a copy of the complaint in this
lawsuit on the above-named defendant

DATED on 6/26/2°‘8 _ 2018

CLERK OF THE CIRCUIT COURT (SEAL)
Harvey Rubin, As Clerl< of the Court

’ 154659
BV (0¢1\¢£& "Et)z@w¢.,

y As Deputy Clerk

 

 

 

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CLAUDIO CASTILLO, IN THE CIRCUIT COURT OF THE ll‘h
]UDICIAL CIRCUIT lN AND FOR
Plaintiff, MIAMl-DADE COUNTY, FLORlDA
V.
CASE NO:

ClTY OF MIAMI BEACH, a municipal
corporation, and ADAYMlS ()RTlZ,
individually,

Defendants.

 

COMPLAlNT AND DEMAND FOR JURY TRIAL
COMES NOW the Plaintiff, CLAUDIO CASTILLO, (hereinafter referred to as

L‘CASTILLO”) by and through the undersigned counsel and hereby sues the Defendant, CITY
OF MIAMI BEACH, (hereinafter referred to as “CITY”), and ADAYMIS ORTIZ, (hereinafter

referred to as “ORT]Z”) and alleges:

1_ This is an action brought for damages in excess of $15,000.00 exclusive of costs,
interest and attorneys fees

2. That at all times hereinafter mentioned, Plaintiff, CASTILLO was and is a
resident of Jacksonville, Florida.

3. That at all times material hereto, the Defendant, ClTY OF MlAMl BEACH, was
and is a municipal corporation, body politic, duly existing by virtue of the laws of the State of
Florida, with the power and authority to carry out municipal functions including the operation of
a police department known as the MlAl\/Il BEACH Police Department and employed Police
Offl cer, ORTIZ.

4. That at all times material hereto, the Defendant, ORTIZ, Was a resident of Miami-

Dade County, Florida, over the age of eighteen (18) and otherwise sur'jm‘is.

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5. Jurisdiction for the instant action is proper as all Defendants reside and/or do
business in Miami-Dade County, Florida and the acts complained of occurred in Miami-Dade
County, Flon`da.

6. Plaintiff, CASTlLLO presented his claim in writing to the Defendant1 CITY by
means of a letter of demand for damages pursuant to the provisions of Florida Statute 768.28
within two (2) years of the accrual of cause of action

7, The Defendant, CITY never made a final disposition of the written claims of
Plaintiff, CASTILLO within six (6) months of their presentation

8. Plaintiff, CASTlLLO has fully complied with all conditions precedent to bringing
this action imposed by the laws of the State of Florida, and particularly by the provisions of
§768.28 of the Florida Statutes_

FACTUAL BACKGROUND
9. On or about September l, 2014, the DefendantJ CITY received 911 calls and other

emergency assistance calls providing the Defendant, CITY with information that Plaintiff,
CASTILLO and others were in need of assistancel

10. On or about September 1, 2014, in response to the calls, the Defendant, CITY
dispatched several officers to the subject locationl

11_ Defendant, ORTIZ was one of the City’s officers who responded to the dispatch

l2. Prior to the arrival of the officers, Plaintiff, CASTILLO was engaged in a verbal
conversation with others at the scene

13_ This verbal conversation escalated in to a physical altercation when Plaintiff,
CASTILLO was attached by an unknown person

14_ Plaintiff, CASTlLLO was lawfully defending himself from this attack.

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15. Also, at this time two other individuals were engaged in an altercation not
involving Plaintiff, CASTILLO.

16. When Officer ORT]Z arrived on the scene, approximately 300 Lincoln Rd, Miami
Beach FL 33139.

17. Ofiicers on the scene gave commands to “stop it”.

18. After that Plaintiff, CASTILLO back away from all others which had engaged
with him_

19. Plaintiff, CAST.lLL-O raised up both hands in the air with his palms facing the
officers

20_ At that time Plaintiff, CASTILLO was not posing an immediate threat to any
particular officer or the general public.

21. At that time Plaintiff, CASTI]_.LO was given various verbal commands by the
officers on the scene which PlaintiffJ CASTILLO complied with.

22. Apparently as a result of the perceived noncompliance from Plaintiff,
CASTlLLO, Defendant, ORTlZ without warning tased Plaintiff, CASTlLLO an undetermined
mnountofthnes

23. As a result of being tased Plaintiff, CASTILLO went down to the grown striking
his head on the pavement

24. While Plaintiff, CASTILLO was on the ground, Defendant, ORTIZ had cuffed
Plaintiff, CASTILLO.

25. At no time during this incident with the Defendant, Cl'l`Y OF MlAl\/].l BEACH’s
Police Department and Defendant, ORTIZ, did the Plaintiff, CASTILLO pose a threat of harm to

anyone

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26. As a result of the incident, the Plaintiff1 CASTILLO suffered personal injuries and
was taken by the EMS to Mount Sinai Medical Center located at 4300 Alton Rd_, lvliami_1 FL
33140 for treatment

27’_ There after Plaintiff, CASTILLO was taken into custody and charged with one
count of aggravated battery and one count of batteryl

28. On September 18, 2014 Plaintiff, CASTlLLO was accepted into the pretrial
diversion program

29_ On June 8, 2015 the above referenced charges were NOLLE PROS.

30_ Plaintiff has retained the Law Offices of Brown & Associates, P.A. and other
attorneys_, to represent them in this matter and has agreed to pay a reasonable fee for its services

cwt
BATTERY - DEFENDANT, CITY OF MIAMI BEACH

Plaintiff, CAST]LLO adopts1 realleges, reaffirms and incorporates by reference
paragraphs 1~30 as if fully set forth herein and further states:

31_ At all times material hereto, Defendant, ORTIZ was acting within the course and
scope of her employment with the CITY OF MlAMl BEACH and in furtherance of their
interests

32 At all times material hereto_, the Defendant, CITY OF MIAM] BEACH, their
agents, servants and!or employees including but not limited to Defendant, ORTlZ intended to
cause bodily harm/offensive contact to the Plaintiff, CASTILLO by using excess force against
him, by tasing Plaintiff, CASTILLO and causing him to fall and strike his head on the pavement

33. At all times material hereto, the Plaintiff, CAST]LLO did not consent to such

bodily harm/offensive contact

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34. The unreasonable and unnecessary use of force by Defendant, ORTIZ was clearly
excessive and objectively unreasonable under the circumstancesj and resulted, as Defendant,
ORTIZ reasonably should have foreseen, in a harmful and offensive contact of Plaintiff,
CAST]LLO against his will. The conduct of Defendant, ORTIZ constitutes battery/unnecessary
force under the laws of the State of Florida, pursuant to Coral SDrings Police Department v.
M, 672 So.2d 46, 47 (3rd DCA 1996)_

35_ The conduct of Defendant, ORTIZ, as set forth herein, occurred within the course
and scope of her employment as a law enforcement officer for Defendant, CITY. Pursuant to
§768,28 (9)(a) of the Florida Statutes, Defendant, CITY is liable to Plaintiff, CASTILLO in tort
for battery/unnecessary use of force, based upon the conduct of Defendant, ORTIZ.

36. As a direct and proximate result of Defendant, CITY OF MlAMl BEACH’s,
actions or inactions, the Plaintiff, CASTILLO suffered serious personal injuries

37_ As a further direct and proximate result of the battery of the Defendant, CITY OF
MIAMI BEACH, Plaintiff, CASTILLO has suffered, and will suffer the following injuries,
losses and damages:

a. Incurred medical expenses in the treatment of his injuries which will continue into
the future',

b. Loss of enjoyment of life, comfort, and mental pain and suffering_;
c. Loss of income and eating ability;
d. All other damages allowed by law', and

e. Any other relief this Court deems appropriate

WHEREFORE, Plaintiff, CASTILLO prays this Court assess compensatory damages

against the Defendant_, C]TY in excess of Seventy Five Thousand ($75,000.00) Dollars together

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with all other relief as requested herein and such other and further relief as this Court deems just
and proper under the circumstances
QLN_TL
BATTERY _ DEFENDANT, ORTIZ

Plaintiff, CASTILLO adopts, realleges1 reaffirms and incorporates by reference
paragraphs l-30 as if fully set forth herein and further states:

38. Alternatively to the allegations set forth in Count l of Plaintiff’s Amended
Complaint, and pursuant to Fiorida Rules of Civil Procedure and §768.28 (9)(a) of the Florida
Statutes, Plaintiif alternatively alleges that the conduct of Defendant, ORTIZ occurred outside
the course and scope of her employment as a police officer for Defendant CITY, in bad faith,
with malicious purpose, or in a manner exhibiting wanton and willful disregard of human rights,
safety, or property Defendant, ORTI_Z, therefore is individually liable to Plaintiff in tort for
battery/unnecessary use of force_

39. Defendant, ORTIZ, in her individual capacity, intentionally1 unnecessarily, and
without legal justification, tased Plaintiff, CASTILLO, causing great bodily harm.

40. At all times material hereto, Defendant, ORTIZ intended to cause bodily
harm/offensive contact to the Plaintiff, CASTILLO by using excessive force against him7 by
tasing him.

4l. At all times material hereto, the Plaintiff, CASTILLO did not consent to such
bodily harm/offensive contact

42. The force used by Defendant, ORTIZ, in her individual capacity, was
unreasonable and unnecessary for Defendant, ORTIZ to defend himself, or any other person,

from bodily harm.

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43_ The unreasonable and unnecessary use of force by Defendant, ORTIZ was clearly
excessive and objectively unreasonable under the circumstances and resulted1 as Defendant,
ORTlZ reasonably should have foreseen, in a harmful and offensive contact of Plaintiff,
CA ST[LLO against his wiil_ The conduct of Defendant, ORTIZ constitutes battery/unnecessary
force under the laws of the State of Florida, pursuant to Coral Springs Police Department v.

Sanders_1 672 So.2d 46, 47 (3rd DCA 1996).

 

44. As a direct and proximate result of Defendant, ORTIZ’s, actions or inactions_, the
Plaintiff, CASTILLO suffered serious personal injuries

45. As a further direct and proximate result of the battery of the Defendant, ORTIZ,
Plaintiff, CASTI`LLO has suffered, and will suffer the following injuries, losses and damages:

a. lncurred medical expenses in the treatment of his injuries which will continue into
the future;

b. Loss of enjoyment of life, comfort, and mental pain and suffering;
c. Loss of income and earing ability;
d_ All other damages allowed by law; and

e. Any other relief this Court deems appropriate

WHEREFORE, Plaintiff, CASTILLO prays this Court assess compensatory damages
against the Defendant, ORTlZ, in excess of Seventy Fiye Thousand ($75,000_00) Dollars
together with all other relief as requested herein and such other and further relief as this Court

deems just and proper under the circumstances

Case 1:18-cv-23256-.]E|\/| Document 1-2 Entered on FLSD Docket O8/10/2018 Page 13 of 18

MFL
VIOLAT]ON OF 42 U.S.C. § 1983 - DEFENDANT, CITY OF MIAMI BEACH

Plaintiff, CASTILLO adopts, realieges, reaffirms and incorporates by reference
paragraphs l-30 as if fully set forth herein and further states:

46. This count is brought pursuant to 42 U.S.C. §§1983, 1988, the Fourth
Amendrnents to the United States Constitution and the tort law of Florida. Juri sdiction is founded
on 28 U.S.C. §§1331, 1343, 42 U.S_C. §1988, the constitutional provisions mentioned above,
and under the tort law of Florida.

47. Pn`or to and including September l, 2014 and at all times material hereto, the
official policy makers of the CI`TY OF MIAMI BEACH were the City Commission and/or the
City Manager.

48, Prior to September 20, 2014, the CITY OF MIAMI BEACH, by and through their
police department7 developed policies and customs exhibiting deliberate indifference to the
constitutional rights of their citizenry that were the moving force behind the violation of the
CAST]]_.LO’s rights

49. The CITY OF MIAM] BEACH had an unofficial/defacto policy/custom,
toierating the use of excessive force by members of its police department

50. Said policies were so widespread and well settled within the CITY OF MIAMI
BEACH that it constituted custom and usage with the force of law.

51. lt was the policy of the CIT'Y OF MIAMI BEACH to inadequately train,
supervise and discipline their officers for their overall misconductj use of excessive force and
deadly force so that said conduct would not be sanctioned; but, tolerated

52. The CITY OF MlAl\/ll BEACH had a policy tolerating police misconduct7 the use

of excessive force and deadly force

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53. The official policy makers were on actual and/or constructive notice of the
widespread practice of excessive force within its police department

54. As a direct and proximate result of the CITY OF MlAMl BEACH's unofficial
policy/custom tolerating the use of excessive force, the CITY OF MiAl\/ll BEACH allowed
members of its police department including but not limited to Officer, ORTIZ to violate the
fourth Amendment rights of its citizenry without fear of a thorough investigation into their
actions and fear of any meaningful discipline for their actions

55. These policies and customs demonstrated a deliberate indifference on the part of
the policymakers of the CITY OF MIAMl BEACH to the Constitutional rights of persons within
the City and were the moving force of the violations of the CASTILLO’s rights alleged herein

56. As a direct and proximate result of the actions of Defendant_, CITY, Plaintiff
CASTILLO has sutfered_, and will suffer the following injuries, losses and damages

a. Incurred medical expenses in the treatment of his injuries which will continue into
the future;

b. Loss of enjoyment of life, comfort and mental pain and suffering_;
c. Loss of income and earing ability;

d. Net accumulations and other economic damages, including all other damages
allowed by law; and

e. Any other relief this Court deems appropriate
WHEREFORE, Plaintiff, CASTTLLO prays this Court assess compensatory damages
against the Defendant City, in excess of Seventy Five Thousand ($75,000.00) Dollars together
with reasonable attorney’s fees and costs as provided in 42 U.S.C. §1988, all other relief as
requested herein and such other and further relief as this Court deems just and proper under the

circumstances

Case 1:18-cv-23256-.]E|\/| Document 1-2 Entered on FLSD Docket O8/10/2018 Page 15 of 18

nw
VIOLAT]ON OF 42 U.S.C. § 1983 - DEFENI)ANT, ORT]Z

Plaintiff, CASTILLO adopts, realleges, reaffirms and incorporates by reference
paragraphs l-30 as if fully set forth herein and further states:

57. This count is brought pursuant to 42 U.S.C. §§l983, 1988, the `Fourth
Amendments to the United States Constitution and the tort law of Florida. Juri sdiction is founded
on 28 U.S.C. §§1331, 1343, 42 U.S_C. §1988, the constitutional provisions mentioned above,
and under the tort law of Florida.

58_ At all times material hereto, Defendant, ORTIZ, was acting under color of law,
to- witt under color of the statutes, ordinances, regulations customs and usages of the United
States and of the State of Florida and the City’s Police Department, pursuant to their respective
authority to maintain a municipal police department

59. At all times material hereto, Defendant, ORTIZ, operated to violate the Plaintiff,
Castillo’s right not to be subjected to cruel or unusual punishment as secured to him under the
Fourth, Eighth and Fourteenth Arnendment to the Constitution of the United States of America.
These violations were of a type and character as to which any reasonable person would be aware

60. The force used by Defendant, ORTIZ against Plaintiff, CASTILLO while acting
under color of state law, was unnecessary for Defendant, ORTIZ to defend himself, or any other
person, from bodily harm during the arrest of Plaintiff, CASTILLO.

61. Defendant, ORTIZ, further operated to violate Plaintiff, CASTILLO'$ civil rights
as protected by ri`he Civil Rights Act , 42 U.S.C. § 1983.

62. As a direct and proximate result of the unlawful conduct of Defendant, ORTIZ, as

aforesaid, the Plaintiff, CASTILLO was deprived of his civil rights

lO

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63. The aforesaid excessive and unjustified acts of Defendant, ORTIZ were
performed knowingly, intentionally, and maliciously, and/or were performed in a reckless
manner with callous indifference to the health, safety and civil rights of the Plaintiff,
CAST]LLO.

64_ The force used by Defendant, ORTIZ against Plaintiff, CASTILLO was
objectively unreasonable and constitutes the excessive use of force, in violation of Plaintiff,
CASTILLO's clearly established constitutional rights under the Fourth Amendments and 42
U.S.C. §1983_

65. At no time did the Plaintiff, CASTU_,LO engage in any actions that would justify
the use of force as described above

66, rl`he force used by Defendant, ORTlZ, was used intentionally to inflict pain and
injury and not for lawful purposes

67. Defendant, ORTIZ, acted with knowledge of the unconstitutional nature of her
actions and/or inactions, agreed to and did use excessive and unjustified force on the Plaintiff,
CAST]LLO.

68. Defendant, ORTIZ’s, willful and deliberate tasing of the Castillo Violated his
constitutional rights under the Fourth, Eighth and Fourteenth Arnendment, and was the direct and
proximate cause of Plaintiff, CASTILLO’s injuries and damages

69. As a direct and proximate result of Defendant, ORTIZ’s actions Plaintiff,
CAST[LLO has suffered, and will suffer the following injuries, losses and damages

a. incurred medical expenses in the treatment of his injuries which will continue into
the future;
b. Loss of enjoyment of life, comfort, and mental pain and suffering;

c. Loss ofincorne and earing ability;

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d. Net accumulations and other economic damages, including all other damages
allowed by law; and

e_ Any other relief this Court deems appropriate
WHEREFORE, Plaintiff, CASTILLO prays this C ourt assess compensatory damages
against the Defendant, ORTIZ, in excess of Seventy Five Thousand ($75,000.00) Dollars
together with reasonable attorney’s fees and costs as provided in 42 U.S.C. §1988_, all other relief
as requested herein and such other and further relief as this Court deems just and proper under

the circumstances

COUNT V - FALSE ARREST AND FALSE IMPRISONMENT

Plaintiff, CASTILLO repeats and realleges Paragraphs l through 30 above as if more
fully set forth herein and further alleges:

70_ This is an action for damages

71. Defendant, ORTIZ unlawfully and falsely arrested Plaintiff, CASTILLO.

72. As a result of this false arrest and imprisonment Plaintiff, CASTILLO was
detained at the scene and at the City of Miami Beach Police Department and Miami-[)ade
County Jail; charged with the offense of aggravated battery and battery, a criminal act pursuant
to the laws of Flon`da; and imprisoned and deprived of his liberty against his will at the initial
scene, the City of Miami Beach Jail and the Miami-Dade County Jail.

73. As a direct and proximate result of these acts, Plaintiff, CASTIL]_,O suffered the
following damages;

a. suffered mental and physical pain from his injuries received at the
hands of Defendant_, ORTLZ;

b_ Lost time from work;

c. incurred medical expenses in the treatment of his injuries
which will continue in the future_;

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d. incurred the expense of hiring an attorney to represent him.
WHEREFORE, Plaintiff, CAST]_LLO demands Judgment against Defendants, ORT]Z
and CITY in excess of Five Thousand ($75,000) Dollars_, together with interest costs and
attorney's fees pursuant to §768.28(8), Flori da Statutes, and such other relief as this Court deems

just and proper
DEMAND FOR JURY TRIAL

Plaintiff, CASTILLO hereby demands a trial by jury on all issues so triable

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